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SDNY hid the Schonfeld interview because it torpedos their entire prosecution theory.
ATTORNEY CLIENT PRIVILEGED
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 When SDNY called Schonfeld, it was public record he stood accused by a third party (ButterflyMX) of orchestrating the fraudulent
 transfer of MVI’s assets in response to GateGuard’s lawsuit v. MVI. So much so that ButterflyMX subpoenaed Schonfeld’s privileged
 communications with MVI (under crime-fraud exception). See attached docs from ButterflyMX case (GateGuard referenced on p. 2 of
 first doc).



 I don’t know if this context bears (directly) on whether SDNY should have disclosed information received from Schonfeld. But, at
 minimum, it establishes he was publicly working to undermine GateGuard’s claims vs. MVI (to the point of engaging in potentially
 unlawful conduct).



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